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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA


   NORWEGIAN CRUISE LINE HOLDINGS
   LTD., a Bermuda Company; NCL
   (BAHAMAS) LTD., d/b/a NORWEGIAN
   CRUISE LINE, a Bermuda Company; SEVEN
   SEAS CRUISES S. DE R.L., d/b/a REGENT
   SEVEN SEAS CRUISES, a Panama Limited
   Liability Company; OCEANIA CRUISES S.
   DE R.L., d/b/a OCEANIA CRUISES, a Panama
   Limited Liability Company;                           Case No. 1:21-cv-22492-KMW

   Plaintiffs,

   v.

   SCOTT A. RIVKEES, M.D., State Surgeon
   General and Head of the Florida Department of
   Health, in his official capacity;

   Defendant.


        PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MOTION TO MODIFY THE
                             BRIEFING SCHEDULE
          Plaintiffs Norwegian Cruise Line Holdings Ltd., NCL (Bahamas) Ltd., Seven Seas Cruises
  S. de R.L., and Oceania Cruises S. de R.L. (together, “NCLH”) respectfully oppose Defendant’s
  Expedited Motion For Extension Of Time. See Dkt. 16 (“Motion” or “Def. Mot.”.              Although
  Defendant’s Motion omits to so report, counsel for NCLH (Derek Shaffer) first learned from
  counsel for Defendant (Louise St. Laurent) that Defendant desired an extension of time via a phone
  call Defendant placed after 5:30 pm yesterday evening (the first such phone NCLH received
  despite inviting one since before filing suit Tuesday morning).   In the course of a brief but cordial
  telephone conversation, NCLH immediately informed Defendant and now reiterates that it will
  consent to extending deadlines provided Defendant agrees that NCLH can sail as planned starting
  August 15.     Because Defendant will not so agree, the stated exigencies remain unchanged, and
  so should the operative briefing schedule that is driven by those exigencies.
          Defendant identifies no adequate warrant now for deviating. As already noted, see Dkt.
  11 & Exs. 1 & 2, NCLH specially alerted the State’s legal counsel to the instant lawsuit and need
  for expedited treatment even before filing suit and has kept them apprised ever since.      Notably,
  Defendant now acknowledges that notice of this dispute occurred months earlier, as NCLH “was




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  making public statements as early as May acknowledging the conflict between Section 381.00316
  and NCLH’s plan to require 100% of its customers be vaccinated.          Def.’s Mot. at 4.     Contrary
  to Defendant’s claim that NCLH “delay[ed]” seeking relief, id. at 2, NCLH should not be faulted
  for pursuing other avenues in good faith to achieve resolution before filing suit as a “last resort.”
  Compl. ¶ 1.    Although NCLH is reluctant to get into specifics of the extensive settlement efforts
  that preceded it coming to court as its last resort, such efforts by the entire cruise industry have
  been widely reported. What is more, such efforts specifically by NCLH continued in earnest
  through this past weekend and into Monday with high-level state officials; if Defendant persists in
  suggesting otherwise, then NCLH will do whatever may be appropriate to correct the record and
  ensure this Court is not misinformed.1
         In any event, the bottom line is that Defendant should have no difficulty responding on the
  schedule set by this Court.   Given that Defendant managed to file a six-page motion that offers a
  putative account of the equities and legal framework at 11:38 pm last night, July 15, continuation
  of those efforts apace should yield an opposition brief well in advance of July 23.          Indeed, the
  law challenged here, Florida Statute § 381.00316, has been at issue in Florida’s parallel challenge
  to the Conditional Sailing Order issued by the Centers for Disease Control and Prevention, along
  with the federal regulatory framework at issue here.        See, e.g., Time-Sensitive Mot. for Stay
  Pending Appeal and Admin. Stay, Florida v. Becerra, No. 21-12243 (11th Cir. July 7, 2021)


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               Without detouring into merits issues, NCLH simply notes that Defendant’s purported
  concern with not “creating ‘two classes of citizens based on vaccination’ status and personal health
  decisions” rings hollow. Def.’s Mot. at 2 (quoting Executive Order 21-81). In fact, nothing in
  the statute at issue prohibits differential treatment based on vaccine status; rather, the law prohibits
  businesses from requiring “any documentation certifying COVID-19 vaccination or post-infection
  recovery.” Fla. Stat. § 381.00316 (emphasis added). In other words, nothing in the law
  prohibits businesses from asking customers if they are vaccinated, and treating them differently on
  that basis. Accordingly, the result of Florida’s prohibition, absent injunction, is that unvaccinated
  passengers would have “limited dining options, as well as limited entertainment options, such as
  spa, theater, and casino: there would be no buffet, they would be restricted to visiting certain
  designated areas of the ship, sitting in a segregated area of the theater, and they would be limited
  to controlled tours when disembarking. Unvaccinated customers would also have fewer options
  to explore destinations and would have to buy a tour offered by the cruise. The unvaccinated
  passenger would also pay more, but for a diminished experience.” Dkt. 3-1 (Del Rio. Decl.) at ¶
  30. Defendant and other state officials have yet to express the slightest concern in the face of
  consistent, uncontradicted new reports indicating that other cruise lines are, via their ongoing
  operations, “creating two classes of citizens” in the words of Florida’s officials. .




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  (arguing “Florida has actively impeded the cruise industry’s ability to conduct safe operations by
  prohibiting cruise ship operators from requiring documentation that passengers are vaccinated”
  and “thus undermined the vaccination strategy that industry representatives developed to facilitate
  cruise resumption in the U.S. by Summer 2021”) (quotations omitted) (citing Fla. Stat. §
  381.00316).    As for the other issues specific to this lawsuit, the Florida Governor’s press secretary
  pronounced it “meritless” on the day it was filed, as widely reported.2      That leaves no plausible
  explanation why Florida now would still be struggling to process the “constitutional claims under
  the First Amendment, the Commerce Clause and . . . the Due Process Clause” that form the merits.
  Def. Mot. At 5-6.
         Nor should Florida be hard pressed to address the remaining factors. Again, Defendant
  is already rehearing its account of the timeline and exigencies as of last night.    Looking beyond
  that, Florida itself has noted the serious and imminent nature of the harms posed by disruptions to
  cruise operations in the State.     As Florida successfully argued in the Middle District, “the
  important summer cruising season is fast approaching” and the “cruise industry is ready to reopen.”
  Fla.’s Am. Mot. for Prelim. Inj., Dkt. 25, Florida v. Becerra, No. 8:21-cv-839-SDM-AAS, at 22
  (M.D. Fla. Apr. 8, 2021).    Disruptions to that industry—which supports “nearly 159,000 total
  jobs paying $8.1 billion in income” within the State—may cause far-reaching, adverse ripple
  effects and deprive Florida of “an essential part of [its] economy.” Id. at 2, 3.      It follows that
  expedition here is paramount.     And no time should be wasted revisiting core premises that Florida
  has already embraced elsewhere and constitute common ground here.
         For the foregoing reasons, NCLH respectfully submits that the current schedule should
  remain unchnanged, and that, in all events, the hearing date should hold.




         2
                See e, g., Bailey Schulz, Vaccine Passports: Norwegian Cruise Line Holdings
  Sues Florida Over Vaccine Passport Ban, USA Today (July 13, 2021) available at
  https://www.usatoday.com/story/travel/experience/cruise/2021/07/13/vaccine-passports-
  norwegian-cruise-line-sues-lawsuit-floridas-vaccine-passport-ban/7958306002/.



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  DATED:   July 16, 2021        Respectfully submitted,

                                QUINN EMANUEL URQUHART & SULLIVAN LLP


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                               and Oceania Cruises S. de R.L.




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                                   CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on this 16th day of July, 2021, I electronically filed the
  foregoing document with the Clerk of the Court using CM/ECF.        I also certify that the foregoing
  is being served this day on all counsel of record in the manner specified, either via transmission of
  Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those
  counsel who are not authorized to receive Notice of Electronic Filing.


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